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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

Erin Sanders, individually and on behalf of all                     3:21-cv-01155
others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

The Hillshire Brands Company,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


       1.    The Hillshire Brands Company (“defendant”) manufactures, labels, markets, and

sells breakfast sandwiches within a purported “whole grain” English muffin under their Jimmy

Dean brand (“Product”).
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        2.    The relevant front label representations include “English Muffin,” “Made With

Whole Grain*,” “18g Protein Per Serving – Excellent Source of Protein,” a picture of the Product

and “Turkey Sausage, Egg White & Cheese Sandwich.”

        3.    Consumers increasingly prefer whole grain foods because they are aware of the

healthfulness of whole grains relative to non-whole grains.

        4.    Whole grains are nutritionally superior to non-whole grains because they include the

entire grain seed – its endosperm, bran, and germ.1

        5.    The bran and germ of a grain seed contain important nutrients like dietary fiber, and

vitamins, minerals, and antioxidants such as iron, zinc, folate, magnesium, thiamin, niacin,

selenium, riboflavin, manganese, copper, vitamin A, and vitamin B6.

        6.    “Non-whole grains” or “refined grains” have been processed to remove their bran

and germ, thereby removing the dietary fiber and most other nutrients.

        7.    Most refined grains are enriched, a process that adds back some of the previously

removed iron and B vitamins (thiamin, riboflavin, niacin, and folic acid).

        8.    Because of this process, “enriched” is often used to describe refined grains.2

        9.    Because enriched flour only contains the endosperm and mainly consists of starch, it

is white in color (“white flour”).

        10.   Other nutrients, including vitamin E, vitamin B6, vitamin K, magnesium,

manganese, potassium, phosphorus, copper, calcium, and selenium, are not added back in.3

        11.   Significantly, the fiber removed is not replaced.



1
  U.S. DEP’T OF AGRIC. AND U.S. DEP’T OF HEALTH & HUMAN SERVS., supra note 1, at Ch. 1 (click
“A Closer Look Inside Healthy Eating Patterns”).
2
  AM. HEART ASS’N, Whole Grains and Fiber, HEART.ORG (2016), http://goo.gl/3g1XVF.
3
  THE WHOLE GRAINS COUNCIL, NUTRIENTS IN WHEAT FLOUR: WHOLE, REFINED AND ENRICHED
(2010), http://goo.gl/rbl80Z (last viewed May 18, 2016).


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        12.    The 2015 Dietary Guidelines for Americans recommends that at least half of the

grains in a healthy diet should be whole grains.4

        13.    The Scientific Report of the 2015 Dietary Guidelines Advisory Committee found

“strong and consistent evidence” demonstrating that higher consumption of whole grains and

lower intakes of refined grains is associated with decreased risk of cardiovascular disease.5

        14.    The Dietary Guidelines recommend that Americans dramatically increase their

intake of whole grains, and that at least 50% of grains consumed be whole grains.6

        15.    A 2015 survey found that 64% of Americans have increased their whole grain

consumption in the past five years, and this trend has continued.7

        16.    As of 2015, 31% of Americans reported that they “nearly always” choose whole

grains over non-whole grains, compared to only 4% five years prior.

        17.    Since consumers are seeking more whole grain products, there are more labels which

misrepresent the amount of whole grain they contain.

        18.    The Federal Trade Commission (“FTC”) and FDA have stated that consumers are

likely to perceive whole grain claims to mean that a product is predominantly whole grain.

        19.    This consumer misperception was recently confirmed by an independent study of




4
  U.S. DEP’T OF AGRIC. AND U.S. DEP’T OF HEALTH & HUMAN SERVS., Dietary Guidelines for Americans
2015–2020 (8th ed. 2015), available at http://goo.gl/qnyfLi (click “A Closer Look Inside Healthy Eating Patterns”
under “Chapter 1. Key Elements of Healthy Eating Patterns”).
5
  U.S. DEP’T OF AGRIC. AND U.S. DEP’T OF HEALTH & HUMAN SERVS., Scientific Report of the 2015 Dietary
Guidelines Advisory Committee: Advisory Report to the Secretary of Health and Human Services and the Secretary
of Agriculture, at Part D, Chapter 2, pp. 8–9 (Feb. 2015), available at http://goo.gl/YjXWlr.
6
  U.S. DEP’T OF AGRIC. AND U.S. DEP’T OF HEALTH & HUMAN SERVS., supra note 1, at Ch. 1 & 2
(click “A Closer Look at Current Intakes and Recommended Shifts”); see also U.S. DEP’T OF
AGRIC. AND U.S. DEP’T OF HEALTH & HUMAN SERVS., supra note 7, at Part D, Chapter 2, pp. 8–9.
7
  Eric Schroeder, Survey Shows Spike in Whole Grains Consumption, FOOD BUS. NEWS, Aug. 31, 2015, available
at http://goo.gl/BRupWU; Elizabeth Crawford, 7 Trends Influencing the Evolution of Health, Wellness and
Consumers’ Views of Food, FOODNAVIGATOR-USA.COM (Jan. 15, 2016, 10:36 AM), http://goo.gl/aCqb7e
(identifying “the emerging focus on ancient grains” as one of seven consumer food trends to grow in 2016).


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consumer perception of wholegrain claims.8

         20.   Respondents showed substantial difficulty in estimating whole grain content of

products found in the marketplace and overestimated the amount of whole grains relative to

refined, enriched grains.

         21.   At least 40% of the time, a whole grain claim resulted in the respondents believing

that the products were entirely or at least half whole grain.

         22.   Though the Product’s front label prominently states, “MADE WITH WHOLE

GRAIN,” it is misleading because the primary ingredient in the sandwich portion of the Product

is “ENRICHED WHEAT FLOUR,” shown in the very fine print of the ingredient list on the side

panel.

                                                    INGREDIENTS:    MUFFIN:    ENRICHED
                                                    WHEAT FLOUR (WHEAT FLOUR, MALTED
                                                    BARLEY FLOUR, NIACIN, REDUCED IRON,
                                                    THIAMINE MONONITRATE, RIBOFLAVIN,
                                                    FOLIC ACID), WATER, WHOLE GRAIN
                                                    WHEAT FLOUR, YEAST, WHEAT GLUTEN,
                                                    CONTAINS LESS THAN 2% OF: DEGERMED
                                                    YELLOW CORN FLOUR, DEGERMED
                                                    YELLOW       CORNMEAL,       SODIUM
                                                    BICARBONATE, FUMARIC ACID, CORN
                                                    STARCH, SODIUM ACID PYROPHOSPHATE,
                                                    MONOCALCIUM PHOSPHATE, CALCIUM
                                                    SULFATE, SALT, AMMONIUM CHLORIDE,
                                                    HONEY, CALCIUM PROPIONATE AND
                                                    POTASSIUM SORBATE (PRESERVATIVES),
                                                    SOYBEAN OIL, HIGH FRUCTOSE CORN
                                                    SYRUP, VINEGAR.




8
 Jennifer L Pomeranz et al., "Consumer confusion about wholegrain content and healthfulness in product labels: a
discrete choice experiment and comprehension assessment," Public Health Nutrition (2020): 1-8.


                                                       4
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         23.    The amount of “WHOLE GRAIN WHEAT FLOUR” in the Product is slightly above

two percent of the total weight of ingredients used in the English muffin portion of the Product.

         24.    The Product contains only two grams of dietary fiber per serving, consistent with a

food with a de minimis amount of whole grain.

         25.    Since the Product contains meat and eggs and makes a whole grain claim, its label is

purportedly subject to approval by the USDA.

         26.    The USDA reviews some whole grain claims and requires that such claims meet

minimum whole grain requirements and be truthful and not misleading.9

         27.    To make a whole grain claim under the USDA rules a product must contain a minimal

quantity of the whole grain component – at least 8 grams of dry whole grain ingredient per labeled

serving size of the meat or poultry product as declared in the nutrition facts panel on the label.




9
 The label sketch approval process only requires approval for the initial label. Revisions or subsequent variations to
an approved label are not required to further submit to the label review process.


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       28.   However, the Product only contains 5 grams of whole grain, as indicated at the

bottom of the side panel – “*THIS PRODUCT PROVIDES 5G OF WHOLE GRAIN IN A 1

SANDWICH SERVING. U.S.D.A. RECOMMENDS 48G OF WHOLE GRAIN EVERY DAY.”




       29.   Thus, the Product does not contain 8g whole grain per serving, nor is the bread part

predominantly whole grain, despite the reasonable expectations that the “made with whole grain”

claim denotes a product with at least a minimum amount of whole grains.

       30.   The marketing of the Product is misleading because the bread portion contains

mostly non-whole grains and contains only a small amount of whole grains.

       31.   Other than the small print at the bottom of the side of the box indicating the product

has 5 grams of whole grain per serving, no other context is provided for how much 5 grams of

whole grain is, in relationship to the much larger amount of refined grain.


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         32.   The Dietary Guidelines recommends that someone consuming 2,000 calories per day

consume 3 ounce-equivalents—or, about 50 grams—of whole grains per day.

         33.   Absent context, as both the FDA and the FTC have warned, consumers can be – and

are – misled by statements about whole grain foods.10

         34.   Defendant is familiar with marketing research and knows that many of its customers

purchase foods with whole grain claims because they believe such products are predominantly

whole grain or contain a non-de minimis amount of whole grain.

         35.   Federal and identical state regulations prohibit false and deceptive practices with

respect to labeling food and beverages. Illinois Food, Drug and Cosmetic Act (“IFDCA”), 410

ILCS 620/1 et seq.; 410 ILCS 620/21(j) (“[a] federal [food labeling] regulation automatically

adopted…takes effect in this State on the date it becomes effective as a Federal regulation.”).

         36.   The Illinois Consumer Fraud and Deceptive Business Practices Act provides

protection for consumers purchasing products like Defendant’s Product, and states:

         Unfair methods of competition and unfair or deceptive acts or practices, including
         but not limited to the use or employment of any deception, fraud, false pretense,
         false promise, misrepresentation or the concealment, suppression or omission of
         any material fact, with intent that others rely upon the concealment, suppression or
         omission of such material fact . . . are hereby declared unlawful

         815 ILCS 505/2.

         37.   Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes, and features of the Product, relative to itself and other

comparable products or alternatives.

         38.   The value of the Product that plaintiff purchased was materially less than its value as

represented by defendant.


10
  Comments, supra note 11, at 3–4; Experimental Study on Consumer Responses to Whole Grain Labeling Statements
on Food Packages, 77 Fed. Reg. 11,547, 11,547 (Feb. 27, 2012), available at https://goo.gl/aW0Nm8.


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        39.   Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

        40.   Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

        41.   The Product is sold for a price premium compared to other similar products, no less

than approximately no less than $5.98 per box of four, a higher price than it would otherwise be

sold for, absent the misleading representations and omissions.

                                            Jurisdiction and Venue

        42.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

        43.   The aggregate amount in controversy exceeds $5 million, including any statutory

damages, exclusive of interest and costs.

        44.   Plaintiff Erin Sanders is a citizen of Illinois.

        45.   Defendant The Hillshire Brands Company is a Maryland corporation with a principal

place of business in Springdale, Washington County, Arkansas.

        46.   Plaintiff and defendant are citizens of different states.

        47.   Venue is in this district because plaintiff resides in this district and the actions giving

rise to the claims occurred within this district.

        48.   Venue is in the East St. Louis Division because plaintiff resides in St. Clair County,

which is where the events giving rise to the present claims occurred.

                                                Parties

        49.   Plaintiff Erin Sanders is a citizen of Marissa, St. Clair County, Illinois.

        50.   Defendant The Hillshire Brands Company, is a Maryland corporation with a




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principal place of business in Springdale, Arkansas, Washington County.

       51.    Defendant owns the famous “Jimmy Dean” brand of breakfast sausages, which have

been established for over fifty years.

       52.    Defendant is one of the largest consumer packaged foods companies in the country.

       53.    The Product is available to consumers from retail and online stores of third-parties

and is sold in boxes of four.

       54.    Plaintiff bought the Product on one or more occasions within the statute of limitations

for each cause of action alleged, at stores including Walmart, 1410 N Market St, Sparta, IL 62286,

between August 2021 and September 2021, among other times.

       55.    Plaintiff bought the Product because she expected it would contain a predominant

amount of whole grain flour.

       56.    Plaintiff did not expect the Product (the bread portion) to contain a significant percent

less of whole grain flour and mostly be made from non-whole grain flour.

       57.    Plaintiff knew that Defendant was a brand with an established reputation for quality,

which would live up to its word on the Product’s composition.

       58.    Plaintiff bought the Product at or exceeding the above-referenced price.

       59.    Plaintiff relied on the representations identified here.

       60.    Plaintiff would not have purchased the Product if she knew the representations were

false and misleading.

       61.    Plaintiff chose between Defendant’s Product and other similar products which were

represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the statements and claims made by Defendant.

       62.    The Product was worth less than what Plaintiff paid and she would not have paid as




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much absent Defendant's false and misleading statements and omissions.

       63.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with its composition.

                                         Class Allegations

       64.    Plaintiff seeks certification under Fed. R. Civ. P. 23(b)(2) and (b)(3) of the following

classes:

               Illinois Class: All persons in the State of Illinois who
               purchased the Product during the statutes of limitations for
               each cause of action alleged.

       65.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       66.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       67.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       68.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       69.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       70.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       71.    Plaintiff seeks class-wide injunctive relief because the practices continue.




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                  Illinois Consumer Fraud and Deceptive Business Practices Act
                                (“ICFA”), 815 ILCS 505/1, et seq.

                                   (Consumer Protection Statute)

       72.    Plaintiff incorporates by reference all preceding paragraphs.

       73.    Plaintiff and class members desired to purchase a product that contained a

predominant amount of whole grain flour relative to enriched flour.

       74.    Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.

       75.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       76.    Plaintiff relied on the representations.

       77.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                   Breaches of Express Warranty,
                              Implied Warranty of Merchantability and
                        Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       78.    The Product was manufactured, labeled, and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it contained a predominant amount of

whole grain flour relative to enriched flour.

       79.    Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       80.    This duty is based on Defendant’s outsized role in the market for this type of Product.

       81.    Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers, and their employees.

       82.    Defendant received notice and should have been aware of these issues due to



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complaints by regulators, competitors, and consumers, to its main offices.

       83.    The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable because they were not fit to pass in the trade as

advertised.

       84.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       85.    Defendant had a duty to truthfully represent the Product, which it breached.

       86.    This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area, as custodians and owners of the Jimmy Dean brand, known

for high quality foods for over 50 years.

       87.    The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, a nationally recognized and trusted brand.

       88.    Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       89.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud

       90.    Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that it contained a predominant amount of whole grain flour relative to enriched flour




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       91.    Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       92.    Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory and/or punitive damages pursuant to any statutory

       claims and interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: September 18, 2021
                                                           Respectfully submitted,

                                                           Sheehan & Associates, P.C.
                                                           /s/Spencer Sheehan


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